Case 2:03-cV-02679-.]DB-tmp Document 101 Filed 06/02/05 Page 1 of 4 Page|D 122

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

    

 

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‘ ‘ W.o. oF tw. §:MPHJS
JANET SHIRLEY, as Survlvlllg SP°“S€’ and for

the estate of JERRY SHIRLEY, Deceased,
JAS()N SHIRLEY, JAYANN SHIRLEY
And JANA SHIRLEY, children of Deceased,
JERRY SHIRLEY,

Plaintiffs,

v. CASE NO.: 03 2679 B P

THE GOODYEAR TIRE & RUBBER COMPANY,

An Ohio corporation, GOODYEAR DUNLOP TIRES
NORTH AMERICA, LTD., an Ohio Limited

Liability, SUMITOMO RUBBER INDUSTRIES, INC.,

a foreign Corporation, and DUNLOP TIRE CORPORATION,
a Delaware Corporation,

Defendants
"er?
-['PROPUS‘ED] ORDER GRANTING
THE GOODYEAR TIRE & RUBBER COMPANY’S
MOTION FOR LEAVE TO FILE A REPLY TO PLAINTIFFS’ OPPOSITION TO
GOODYEAR’S MOTION FOR PR()TECTIVE ORDER

 

This cause came to be heard upon the Motion of Defendant, The Goodyear Tire &
Rubber Company ("Goodyear"), for leave to reply to Plaintiffs’ Opposition to Goodyear’s
Motion for Proteetive Order. For those reasons set forth in Goodyear’s Mernorandum of Law in
support of its Motion, the Court finds that the Motion is well taken and should be granted The

Court also finds that Plaintiffs to do not oppose the Motion.

IT IS, THEREFORE, ORDERED ADJUDGED AND DECREED that Goodyear’S

Motion for leave to tile a reply to Plaintiffs’ Opposition to Goodyear’S Motion for Protective

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Case 2:03-cV-O2679-.]DB-tmp Document 101 Filed 06/02/05 Page 2 of 4 Page|D 123

Order be GRANTED, and that Goodyear Shall have two (2) weeks from the date this Order is

docketed to tile its reply.

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JUD\GE’ :,,
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Case 2:03-cV-02679-.]DB-tmp Document 101 Filed 06/02/05 Page 4 of 4 Page|D 125

Honorable .1. Breen
US DISTRICT COURT

